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1                                                                                           Judge Coughenour
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7                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
8
     UNITED STATES OF AMERICA,                  )
9                                               )
                                                )                 NO. CR20-092JCC
10                                  Plaintiff,  )
                 v.                             )                 DEFENDANT GOMEZ’S
11                                              )                 MOTION TO SEAL
                                                )                 EXHIBITS 1, 2, 3 and 4
12                                              )
     ALAN GOMEZ MARENTES,                       )
13                                              )                 NOTED 12 November 2021
                                    Defendant. )
14   __________________________________________ )
15
             COMES NOW Alan Gomez Marentes, by and through counsel Robert Goldsmith, and files this
16
     Motion to Seal. The defendant hereby requests that Exhibits 1, 2 and 3, Medical Records, and Exhibit 4,
17
     Declaration of Defendant, remain sealed, as they contain confidential information.
18
     Dated 4 Nov. 2021.                                           Respectfully submitted,
19

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21                                                                /s/ R. Goldsmith________________
                                                                  Robert Goldsmith, WSBA #12265
22                                                                Email: Bobgoldsmith52@gmail.com
                                                                  Attorney for Defendant
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26   MOTION TO SEAL - 1

27                                                                                    ROBERT W. GOLDSMITH
                                                                                        Attorney at law
28                                                                                      705 Second Ave.
                                                                                     Seattle, WA 98104
                                                                                        (206) 313-1780
               Case 2:20-cr-00092-JCC Document 590 Filed 11/04/21 Page 2 of 2



1                                          CERTIFICATE OF SERVICE

2            I hereby certify that on the 4th day of Nov., 2021, I electronically filed the foregoing with the
3    Clerk of the Court using the CM/ECF system. Notice of this filing will be sent electronically to the
4
     Assistant U.S. Attorney, counsel of record for the Government.
5

6    DATED this 4th day of Nov., 2021

7
                                                     _/s/ R. Goldsmith_____________
8                                                    Robert Goldsmith,WSBA # 12265
                                                     Email: Bobgoldsmith52@gmail.com
9                                                    Attorney for defendant
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26   MOTION TO SEAL - 2

27                                                                                        ROBERT W. GOLDSMITH
                                                                                            Attorney at law
28                                                                                          705 Second Ave.
                                                                                         Seattle, WA 98104
                                                                                            (206) 313-1780
